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     Attorney for Applicant,
12   iFinex Inc.
13                               UNITED STATES DISTRICT COURT
14
                               CENTRAL DISTRICT OF CALIFORNIA
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16
      In re Application of                              Case No.: 8:19-mc-00022-UA-ADS
17
                   iFinex Inc.                          ORDER GRANTING LEAVE TO
18                                                      CONDUCT DISCOVERY IN FOREIGN
19           Applicant,                                 LITIGATION PURSUANT TO 28 U.S.C.
                                                        § 1782
20    For the Issuance of a Subpoena for the
      Taking of a Deposition and the Production of      Mag. Judge: Autumn D. Spaeth
21    Documents for use in a Foreign Proceeding
22    Pursuant to 28 U.S.C. § 1782

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                                                                 Case No.: 8:19-mc-00022-UA-ADS
      ORDER GRANTING LEAVE TO CONDUCT DISCOVERY IN FOREIGN LITIGATION PURSUANT TO 28 U.S.C. §
                                             1782
     Case 8:19-mc-00022-UA-ADS Document 7 Filed 12/12/19 Page 2 of 2 Page ID #:38



 1         The Court has reviewed Applicant iFinex Inc.’s Application to Conduct Discovery
 2   Pursuant to 28 U.S.C. § 1782 (the “Application”), filed October 18, 2019. Finding no objection
 3   on file, the Court has taken the Application under submission without oral argument. The
 4   Application is granted.
 5         IT IS SO ORDERED.
 6
 7          December 12, 2019
     Dated: ________________                            /s/ Autumn D. Spaeth
                                                    _______________________________
                                                    Magistrate Judge Autumn D. Spaeth
 8                                                  United States District Judge
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                                                -1-        Case No.: 8:19-mc-00022-UA-ADS
     [PROPOSED] ORDER GRANTING LEAVE TO CONDUCT DISCOVERY IN FOREIGN LITIGATION PURSUANT TO
                                          28 U.S.C. § 1782
